Case 4:23-cr-00054-AWA-DEM            Document 1320        Filed 06/22/25      Page 1 of 8 PageID#
                                            7516



                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF VIRGINIA

                                      Newport News Division

 UNITED STATES OF AMERICA                         )
                                                  )
                 v.                               )   CRIMINAL NO. 4:23CR54
                                                  )
 CORTEZ DAYSHAWN BUMPHUS, et al.                  )
                                                  )
                 Defendants.                      )

                         GOVERNMENT’S MOTION IN LIMINE TO PREVENT
                         ARGUMENTS RELATED TO JURY NULLIFICATION

         The United States of America, by and through its attorneys, Erik S. Siebert, United States

 Attorney for the Eastern District of Virginia, and Eric M. Hurt, Assistant United States Attorney,

 respectfully submits this Motion in Limine to preclude Defendants from presenting arguments,

 evidence, or testimony related to Virginia laws regarding marijuana, Defendants’ beliefs about

 such laws, the possible legalization of marijuana, or any other attempt at jury nullification at the

 trial of this matter.

 I.      Factual Background

         Federal law enforcement opened an investigation into LUX AUTO circa June 2021 after

 receiving information about large-scale drug trafficking activity at the business. Additionally,

 LUX AUTO was referenced in a separate open FBI investigation into a shooting incident that

 occurred on or about August 27, 2021, in Hampton, VA, where Hampton Police Division officers

 were targeted by gunfire. Defendants in this case were using LUX AUTO as a base of operations

 on the east coast whilst being supplied by Sources of Supply (“SoS”) in California and elsewhere.

         Video footage obtained from Technical Surveillance of LUX AUTO corroborated the

 storage of illegal drugs in multiple vehicles throughout the parking lot of LUX AUTO. This
Case 4:23-cr-00054-AWA-DEM            Document 1320         Filed 06/22/25      Page 2 of 8 PageID#
                                            7517



 surveillance also established that members of the organization were frequently armed with

 handguns and/or assault style weapons. These weapons were visible on the camera and were

 recorded. Technical Surveillance at storage units in Newport News also corroborated the storage

 of suitcases full of suspected illegal drugs off of the LUX AUTO lot.

        Law enforcement utilized a wide range of investigative techniques over the course of this

 multi-year investigation, to include an expansive financial investigation that uncovered over

 $22,000,000 flowing in and out of various accounts belonging to or associated with the defendants

 and their associates, plus approximately $5,000,000 flowing between Peer to Peer (“P2P”)

 accounts. Various methods of surveillance, controlled evidence purchases, covert-entry search

 warrants, airport interdictions, and Title-III wire and data intercepts largely contributed to the

 overall discovery of a successful, multi-faceted conspiracy to traffic thousands of pounds of illegal

 marijuana via commercial aircraft into the Commonwealth of Virginia.

        Between March of 2022 and July 2023, the United States District Court for the Eastern

 District of Virginia approved approximately 15 initial and/or renewal Applications for Orders

 authorizing the interception of wire and/or electronic communications occurring over telephones

 utilized by various defendants. During the course of those interceptions, the communications of

 each defendant were, at times, intercepted and found to be facilitating or discussing the criminal

 activity of this criminal enterprise. Those communications, marked as “Pertinent” by monitors or

 reviewers, laid the foundation for a widespread conspiracy dating back approximately seven years.

        Between August 17, 2020, and January 25, 2023, several monetary seizures occurred at

 various major airports in the Mid-Atlantic area. Of those seizures, a total of nearly $400,000 in

 U.S. currency (cash) was seized from members and/or associates of this criminal enterprise. This




                                                  2
Case 4:23-cr-00054-AWA-DEM            Document 1320          Filed 06/22/25      Page 3 of 8 PageID#
                                            7518



 currency was either derived from the sale of controlled substances or was intended for the purchase

 of distribution amounts of controlled substances, primarily being marijuana.

        Between January 20, 2021, and August 24, 2023, several seizures of illegal marijuana

 and/or related contraband took place at major airports in the Mid-Atlantic area. To date, almost

 1,000 pounds of illegal marijuana have been seized through targeted interdiction operations, many

 of which were developed through monitoring of the aforementioned Title-III wire and data

 intercepts. According to intercepted conversations and airline records between 2017 and 2024, the

 organization was trafficking as much as 1,000 pounds of marijuana per week into the

 Commonwealth of Virginia. This is corroborated by the fact that the organization spent more than

 $500,000 on air travel in support of the movement of marijuana from the SoS to the

 Commonwealth of Virginia.

        The members of the organization had varying roles and responsibilities. The leaders of

 this drug trafficking operation engaged with the sources of supply outside the Commonwealth of

 Virginia and arranged for the purchase of large loads of marijuana that were then marked for

 transportation to the Eastern District of Virginia. The leaders would then instruct other members

 of the organization to arrange for couriers to fly to the SoS, deliver money to them, and then return

 to the Eastern District of Virginia with the marijuana. The leaders would then arrange for mid-

 level members of the organization to receive the marijuana from the couriers and distribute it to

 customers or have subordinate dealers sell the marijuana.

        The leaders of the organization had lieutenants who were responsible for arranging for

 couriers to travel to the SoS to obtain the marijuana, for obtaining locations to store the marijuana,

 and for insuring the ultimate distribution of the marijuana. These lieutenants would sometimes

 travel to the SoS themselves or would accompany couriers on their travels. The lieutenants



                                                   3
Case 4:23-cr-00054-AWA-DEM            Document 1320         Filed 06/22/25      Page 4 of 8 PageID#
                                            7519



 supervised individuals who were responsible for distributing the marijuana and sometimes

 receiving the marijuana from the couriers as they returned from the SoS. These individuals at

 times were also expected to collect the proceeds from the sale of the marijuana.

        The couriers would be contacted by members of the organization when the need for

 marijuana transportation arose. The couriers were provided with tickets to the SoS and usually

 two suitcases. The couriers would then be transported to various airports in the Eastern District of

 Virginia for flights to the SoS. The courtiers would take the suitcases, often filled with currency,

 and travel to the SoS. When the couriers arrived at their destination, they would be met by

 representatives from the SoS, and the suitcases would be filled with between 20 and 80 pounds of

 marijuana. The following day, the courtiers would return to the Eastern District of Virginia with

 the suitcases full of marijuana. When the couriers arrived in the Eastern District of Virginia,

 members of the organization would either meet them at the airport or arrange for the couriers to

 Uber to a location where they would surrender the suitcases. The couriers were paid as much as

 $1,500.00 for these trips.

        The organization possessed this rough structure of organization over a period of years.

 However, the role of the individuals in the organization was at times fluid. Organization members

 were often called upon to perform multiple roles. If a situation arose, a non-courier might be

 required to travel to the SoS to transport marijuana. Also, some members of the organization, in

 addition to their tradition role, might need to do paperwork for a flight, deposit drug proceeds into

 an account, or aid in the storage of marijuana.

 II.    Legal Standard

        Pursuant to Federal Rule of Evidence 402, “[i]rrelevant evidence is not admissible.” Fed.

 R. Evid. 402. Evidence is relevant only if “it has any tendency to make a fact more or less probable



                                                   4
Case 4:23-cr-00054-AWA-DEM            Document 1320         Filed 06/22/25       Page 5 of 8 PageID#
                                            7520



 than it would be without the evidence,” and “the fact is of consequence in determining the action.”

 Fed. R. Evid. 401. Furthermore, even relevant evidence is subject to exclusion when “its probative

 value is substantially outweighed by a danger of . . . unfair prejudice, confusing the issues,

 misleading the jury, undue delay, wasting time, or needlessly presenting cumulative evidence.”

 Fed. R. Evid. 403.

 III.   Argument

        A.      Any arguments related to the policy considerations of federal marijuana laws
                should be excluded because they are irrelevant.

        Any arguments or evidence relating to the regulation of marijuana at the state level is

 irrelevant in the instant case because such information does not have the tendency to make a fact

 in this trial more or less probable and is not of consequence in determining the present action.

 Therefore, such evidence is irrelevant and should be excluded from this trial pursuant to Rules 401

 and 402. The Fourth Circuit has previously held that “no other state’s laws . . . are relevant

 to . . . the elements necessary to prove a violation of 21 U.S.C. § 846.” United States v. Wall, No.

 19-cr-0500, 2022 WL 1268061, at *4 (D. Md. Apr. 28, 2022) (citing United States v. Haymon, No.

 20-4438, 2021 WL 4495813 (4th Cir. Oct. 1, 2021)). Similarly, any arguments related to pending

 federal marijuana legislation and other policy considerations also are irrelevant to the probability

 of the facts at issue in the instant case and should be excluded pursuant to Rules 401 and 402.

        B.      Any arguments related to the policy considerations of federal marijuana laws
                should be excluded because they will confuse or mislead the jury.

        Even if the Court finds that policy arguments related to marijuana are relevant under Rule

 401, the evidence’s value is outweighed by the dangers of confusing the issues and misleading the

 jury; therefore, the evidence should be excluded from this trial pursuant to Rule 403. There is little

 value in any evidence related to the policy considerations of marijuana regulation or the national

 debate regarding the legalization of marijuana. It is undisputed that entering into a conspiracy to

                                                   5
Case 4:23-cr-00054-AWA-DEM            Document 1320         Filed 06/22/25       Page 6 of 8 PageID#
                                            7521



 distribute marijuana is illegal under federal law. Consequently, there is no value in evidence

 relating to how the distribution of marijuana is regulated in other jurisdictions or discussed in

 policy debates. On top of such evidence having no probative value, the evidence also carries a

 high risk of confusing the issues and misleading the jury. The status of the federal law prohibiting

 conspiracy to distribute marijuana is not at issue in this case, and arguments related to the federal

 law in comparison to other marijuana regulations will only confuse the issues at hand.

        Arguments related to marijuana regulation in other jurisdictions would make an

 impermissible implicit suggestion for jury nullification. “Jury nullification occurs when the jury

 chooses to reject evidence or ignore law, thereby excusing a defendant’s conduct ‘because the jury

 wants to send a message about some social issue that is larger than the case itself or because the

 result dictated by law is contrary to the jury’s sense of justice, morality, or fairness.’” United

 States v. Jones, No. 15-CR-324-F-1, 2016 WL 5818534, at *4 (E.D.N.C. Oct. 4, 2016) (quoting

 Black’s Law Dictionary (10th ed. 2014)). Defense counsel is restricted from encouraging the jury

 to refuse to apply the law and issue a verdict on grounds other than the facts presented at trial. See

 United States v. Muse, 83 F.3d 672, 677 (4th Cir. 1996). Arguments concerning the policy

 considerations of federal legislation regarding the distribution of marijuana would suggest to the

 jury they ought to issue a verdict based on the social debate regarding the regulation of marijuana

 and not the facts of the case. Such arguments are impermissible invitations for jury nullification

 and, therefore, must not be permitted.

        Other courts have considered similar motions in limine and precluded policy arguments

 related to the legalization and decriminalization of marijuana due to their irrelevancy and jury

 nullification issues. See, e.g., Wall, 2022 WL 1268061, at *1, *4 (excluding evidence of any

 nonfederal jurisdiction’s marijuana laws); United States v. Apicelli, No. 14-cr-012-01-JD, 2015



                                                   6
Case 4:23-cr-00054-AWA-DEM            Document 1320         Filed 06/22/25     Page 7 of 8 PageID#
                                            7522



 WL 3398139, at *1-2 (D.N.H. May 26, 2015) (excluding arguments, evidence, and questions about

 marijuana laws and possible legalization, medical use of marijuana, and other issues related to jury

 nullification); United States v. Jenkins, No. 1:14-cr-72, 2014 WL 12676280, at *5 (W.D. Mich.

 Aug. 20, 2014) (“[C]ompliance with the Michigan Medical Marihuana Act is not a defense in this

 case, and any evidence about Defendants’ compliance with the state law or reasons they believed

 their conduct was lawful is irrelevant to the federal prosecution.”).

 IV. Conclusion

        For the foregoing reasons, the government respectfully requests that the Court limit the

 defendant from presenting arguments related to the legalization and decriminalization of marijuana

 in other jurisdictions and all other arguments regarding the policy considerations of federal

 marijuana regulations.

                                                Respectfully submitted,

                                                ERIK S. SIEBERT
                                                UNITED STATES ATTORNEY

                                          By:                  /s/
                                                Eric M. Hurt
                                                Assistant U.S. Attorney
                                                Attorney for the Government
                                                United States Attorney’s Office
                                                One City Center
                                                11815 Fountain Way, Suite 200
                                                Newport News, VA 23606
                                                Ph: 757-591-4034
                                                Email: EHurt@usa.doj.gov




                                                   7
Case 4:23-cr-00054-AWA-DEM            Document 1320         Filed 06/22/25      Page 8 of 8 PageID#
                                            7523



                                 CERTIFICATE OF SERVICE

        I certify that on June 22, 2025, I electronically filed a copy of the foregoing with the clerk

 of the court using the CM/ECF system, which will send a notification of such filing to all counsel

 of record. In addition, the United States mailed a copy to:

        Kamani Johnson
        Western Tidewater Regional Jail
        2402 Godwin Blvd,
        Suffolk, VA 23434
                                                               /s/
                                                       Eric M. Hurt
                                                       Assistant United States Attorney




                                                  8
